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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FORT SMITH DIVISION

 UNITED STATES OF AMERICA                                                                PLAINTIFF

 v.                              Case No. 2:12-cr-20043-014

 CARLTON MATHEWS                                                                      DEFENDANT


                                             ORDER

        The Court held a hearing on June 11, 2013, in the above-captioned case at which Defendant

 Mathews and his appointed counsel, Brock Showalter, were present. Assistant U.S. Attorney

 Brandon Carter appeared for the Government. During the hearing, the issues outlined below were

 discussed. To the extent this Order differs from any oral statements of the Court at the hearing, the

 language of this Order controls.

        At the hearing, the Court expressed serious concerns about the adequacy of Mr. Showalter’s

 representation of Defendant and inquired into the extent of Mr. Showalter’s participation in this

 case. Mr. Showalter admitted that he had not met with his client since Defendant’s change of plea

 hearing on January 31, 2013. The United States Probation Office filed an initial presentence

 investigation report (“PSR”) on April 15, 2013, which included an attached Counsel Instruction

 Sheet informing the defense attorney of his obligation to “carefully go over the report in detail with

 the defendant.” Mr. Showalter did not file any objections to the report or otherwise contact the

 probation officer. When the probation officer contacted Mr. Showalter, Mr. Showalter informed him

 that he had no objections. At the hearing, Mr. Showalter admitted that he had not reviewed the PSR

 in detail with his client until June 10, 2013, the day before Defendant was to be sentenced, and even

 then, he did not meet with Defendant in person, but discussed it over the phone. Mr. Showalter’s

 statements at the hearing confirmed that he has failed to provide adequate legal assistance to his

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 client. In the interests of justice, the Court discharged Mr. Showalter as Defendant’s attorney.

 Accordingly, the Court ORDERS that Mark E. Ford be substituted as appointed counsel of record

 in place of Hugh Brock Showalter with respect to representation of Defendant Carlton Mathews.

 Mr. Showalter is relieved of his obligations in this matter.

          Due to his failure to provide effective representation of the defendant in this case, the Court

 removed Mr. Showalter from the CJA panel. Therefore, he will similarly be replaced in any other

 criminal cases pending in this district in which he was appointed as a result of being on the CJA

 panel.

          The Government is ORDERED to provide copies of or access to all discovery materials to

 Defendant’s newly appointed counsel.

          In order to allow Defendant’s newly appointed counsel to review the case, Defendant’s

 sentencing hearing will be re-set by separate order.

          IT IS SO ORDERED this 12th day of June, 2013.


                                                                 s/P. K. Holmes, III
                                                                 P.K. HOLMES, III
                                                                 CHIEF U.S. DISTRICT JUDGE




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